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       [ORAL ARGUMENT TO BE HELD ON OCTOBER 8, 2009]

                           No. 09-5236
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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
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                       DJAMEL AMEZIANE,
                              Petitioner-Appellee,

                               v.

                    BARACK OBAMA, et al.,
                            Respondents-Appellants.
               _______________________________
     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF COLUMBIA
               _______________________________

                         REPLY BRIEF
                _______________________________

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              PROTECTED INFORMATION – FILED UNDER SEAL
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        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
                  _______________________________

                               REPLY BRIEF
                      _______________________________

                               INTRODUCTION

      The decision of the Guantanamo Review Task Force to transfer appellee

Djamel Ameziane should be sealed under the protective order because its disclosure

could harm significant foreign policy and national security interests. The district

court erred in rejecting Ambassador Daniel Fried’s explanation of how public

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disclosure of the decision could harm those significant interests by complicating the

diplomatic negotiations needed to resettle or repatriate Guantanamo detainees.

      The district court failed to give Ambassador Fried’s assessment of the foreign

policy impact of public disclosure the deference that is warranted, and abused its

discretion in failing to conclude that Ambassador Fried had established a significant

interest under the Protective Order. Additionally, the district court erred in its

assessment of the public interest. Such transfer approval information may be

important both to the habeas courts in their efforts to conserve their limited resources

in the face of numerous unresolved habeas cases and to habeas petitioners that seek

to coordinate release or repatriation efforts with the United States. Thus, the public

interest is harmed by a rule that precludes the government from providing transfer

information to the court and the habeas petitioner confidentially. Moreover, the

public interest is disserved by the diplomatic harms identified by Ambassador Fried

that interfere with the effort at pursuing a global and coordinated approach to

repatriating and resettling Guantanamo detainees.

      Ameziane’s jurisdictional arguments have no merit. First, this case is not moot.

The district court’s order will require the disclosure of the official government

acknowledgment – in court filings – that Ameziane has been approved for transfer.

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The possibility that the Red Cross and petitioner’s brother may possess this

information does not make the case moot because the harms Ambassador Fried

identified rests on use of the official government acknowledgment that Ameziane has

been approved for transfer by him and his counsel to conduct their own private

diplomatic efforts at resettlement.

      Second, Ameziane is incorrect to suggest that this Court lacks appellate

jurisdiction – the issue is sufficiently important because it involves harm to

significant foreign policy and national security interests; it is entirely unrelated from

the merits of this habeas case; and if the district court’s ruling is not reviewed now,

the issue will not be subject to review after a final judgment in this case.

      On the merits, as an initial matter, Ameziane appears to have conceded that

discussion of the Task Force decision in pleadings and transcripts of the district court

may properly be sealed, Appellee’s Br. at 17. Thus, the district court order should be

reversed to the extent it requires those judicial pleadings unsealed.

      Ameziane’s arguments on the remaining issue in dispute – whether he and his

counsel may publicly disclose the Task Force decision – are unpersuasive. First,

Ambassador Fried provided a detailed assessment of the harm that would be caused

by the release of a single piece of information in a subset of habeas cases, and that

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explanation is more than adequate under this Court’s decisions in Parhat v. Gates,

532 F.3d 834 (D.C. Cir. 2008) and Bismullah v. Gates, 501 F.3d 178 (D.C. Cir.

2007). Ambassador Fried also described harm that would be caused in circumstances

identical to those presented here – where the government believed a detainee could

appropriately be resettled but the detainee seeks to use the Task Force decision to

obtain resettlement in a third country. Contrary to petitioner’s suggestion, this Court

does not require that Ameziane be identified by name in the declaration supporting

the sealing of Task Force decisions, given that the facts described therein apply

squarely to his circumstances.

      Finally, Ameziane’s personal interests do not call for unsealing the records

here. First, the nature of the interest he has identified – a desire to avoid repatriation

in the face of the government’s contrary assessment – is an interest that this Court has

rejected in Kiyemba v. Obama, 561 F.3d 509 (D.C. Cir. 2009). Petitioner has argued

that he is harmed because he is unable to litigate his habeas case. The halt of

litigation, however, is not at issue here and is caused by the district court order to stay

proceedings, not by the order to seal. More importantly, the harm is imaginary: if a

third country is concerned about Ameziane’s Task Force status, it can speak directly

to the United States about that status, a line of direct diplomatic communication that

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resolves the confusion and mixed messages identified by Ambassador Fried as the

basis for sealing the information at issue.

                                    ARGUMENT

I.    THIS APPEAL IS NOT MOOT.

      Ameziane argues that this appeal is moot based on the district court’s

observation that “‘both the Red Cross and petitioner’s brother . . .are already aware

that petitioner has been cleared for transfer.” Appellee’s Br. at 18. This factual

assertion, even if credited, does not render this dispute moot.

      The question here concerns the sealing of records filed in the district court in

which the government formally acknowledged Ameziane’s status as having been

approved for transfer by the Task Force. Those records will undeniably be unsealed

and publicly released if the district court order is affirmed. See App. 86 (“petitioner’s

motion to unseal is GRANTED” and government’s motion to designate protected

information in “all related or derivative documents . . . and respondents’ sealed . . .

status report” “is DENIED”). Thus, the dispute is not moot.

      Further, because there has been no formal, public acknowledgment of the Task

Force decision or Ameziane’s transfer status, the dispute over whether that

information in court filings must be publicly disclosed is not moot.             As the

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government explained in the opening brief, there is a substantial difference between

a disclosure of information made by a private entity or an individual and a formal

acknowledgment by the U.S. Government. See Fitzgibbon v. C.I.A. 911 F.2d 755,

765 (D.C. Cir. 1990) (because of the “critical difference between official and

unofficial disclosures,” information must be released under FOIA only if the

“specific” information already “has been officially acknowledged”).

      Ameziane argues that cases under the Freedom of Information Act, like

Fitzgibbon, are not relevant to the mootness inquiry because they involve “specific

statutory authority to withhold classified information” and deference to the Executive

Branch. Appellee’s Br. at 20. This argument does not square with the district court

decision, which itself relied on a FOIA case in addressing this claim. App. 126.

More importantly, the reasoning of Fitzgibbon squarely addresses the nature of the

governmental interest at issue here and the fact that this interest would be harmed by

the district court order. As this Court explained, “public [disclosure] through an

official and documented” channel – here, by public disclosure of the transfer decision

by Ameziane or through the unsealing of judicial records in which the government

acknowledges that Ameziane has been approved for transfer – is “important because

. . . in the arena of . . . foreign relations there can be a critical difference between

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official and unofficial disclosures.” Fitzgibbon, 9111 F.2d at 765.

      Ameziane argues that this case is not about the unsealing of judicial records,

but merely about “whether Ameziane ‘may publicly disclose that he has been

approved for transfer from Guantanamo.’” Appellee’s Br. at 17. That presentation

of the scope of the district court order is incorrect – the order, as just explained,

would unseal judicial records in which the government formally acknowledged the

Task Force decision. Thus, the district court order both allows Ameziane’s counsel

to publicly reveal the Task Force decision and unseals court records that reveal the

government’s official acknowledgment of that decision. See Protective Order ¶ 38

(“Petitioners’ counsel shall not disclose the contents of any protected documents or

information to any person”).

      But even if the dispute is narrowed as suggested by Ameziane’s concession that

he is not seeking the unsealing of any judicial records and asks only that he be

allowed to publicly disclose the transfer approval (see, infra, pp. 15-17), the appeal

is still not moot. This is because the harm that would be caused by disclosure of the

transfer information by Ameziane or his counsel is exactly the sort of harm identified

by Ambassador Fried: “[i]t is the provision of this additional information, i.e., the

fact that a particular . . . detainee has been approved . . . as a result of review by the

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. . . Task Force – by someone other than a representative of the U.S. Government that

has the potential to create confusion and mixed messages.” Fried Decl. ¶ 6. And

because that harm would result from affirmance of the district court order, but not

reversal of it, this case is not moot.

      Indeed, the district court plainly does not believe that the dispute here is moot

–it resolved the disclosure issue and ordered that the material in its files be unsealed

(App. 86), a resolution that would not have been within its “‘constitutional authority’”

were Ameziane’s mootness claim correct. Appellee’s Br. at 16. It is true that the

district court reasoned that sealing the material would “serve little purpose because

that information” was already known by the Red Cross and Ameziane’s brother. This

conclusion, however, does not suggest that the dispute is moot, nor does it address

the significant national security and foreign policy harm that Ambassador Fried

identified when private entities conduct diplomacy using the official government

acknowledgment of the Task Force decision. Fried Decl. ¶¶ 5-6.

II. This Court Has Appellate Or Mandamus Jurisdiction.

      A. As we explained in our opening brief, this Court has jurisdiction over the

appeal under 28 U.S.C. § 1291 because the district court’s disclosure order is

appealable under the collateral-order doctrine. The order requiring the disclosure of

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the Guantanamo Task Force Review Panel decision to transfer a detainee would harm

the government’s significant national security and foreign policy interests by

complicating the diplomacy needed to close Guantanamo and resettle or repatriate

detainees, as appropriate.     This disclosure order is separate from the merits,

important, and causes irrevocable injury unless reversed

      Ameziane agrees that the district court order is conclusive, but argues that the

order “does not rise to a level of importance equivalent to matters involving the loss

of substantial statutory or constitutional rights.” Appellee’s Br. at 25. In fact, this

case does involve a “‘weighty public objective’ that is ‘deeply rooted in public

policy’” (id. (quoting Digital Equipment Corp. v. Desktop Direct, 511 U.S. 863, 883-

84 (1994))), namely, the substantial foreign policy and national security interests of

the United States that the protective order was entered to preserve in habeas litigation

that uniquely impacts those interests.

      Ameziane cites two cases in support of their claim that “the mere invocation

of foreign policy concerns does not provide a basis for interlocutory review.”

Appellee’s Br. at 26 (citing Doe v. Exxon Mobil Corp, 473 F.3d 345, 351-52 (D.C.

Cir. 2007) and United States v. Cisneros, 169 F.3d 763, 764-66 (D.C. Cir. 1999)).

Neither case is on point. Rather, both involved attempts to appeal a denial of a

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motion to dismiss that was not based on a litigation immunity. Such a denial is,

however, the quintessential unappealable interlocutory order for reasons other than

the importance of the issues raised; namely, such an order is fully reviewable on

appeal from final judgment and is inseparable from the merits. See Cisneros, 169

F.3d at 769 (refusal to dismiss indictment on separation of powers grounds is “fully

reviewable on appeal”).

      Here, on the other hand, the order to publicly release government information

that would harm foreign policy and national security interests is the type of order that

is normally appealable in this Court.     See Doe, 473 F.3d at 212-13 (in rejecting

appellate jurisdiction over denial of motion to dismiss, expressly noting that litigation

would not require the disclosure of documents against the wishes of a foreign

government); Al Odah v. United States, 559 F.3d 539, 543-44 (D.C. Cir. 2009)

(appellate jurisdiction exists to consider mandated disclosure of classified material

to cleared counsel under similar protective order). Cf. In re Copley Press, Inc., 518

F.3d 1022, 1025 (9th Cir. 2008) (order unsealing judicial records appealable under

collateral order doctrine).

      Ameziane also claims that the order is not sufficiently important because it was

entered under “a protective order that itself was crafted and entered by the District

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Judges in an exercise of their discretion.” Appellee’s Br. at 26. If anything, however,

the need for a comprehensive protective order in these unique cases reveals the

importance of the foreign policy and national security interests at stake. As the

Supreme Court has recognized, this type of litigation poses unique risks to those

interests. See Hamdi v. Rumsfeld, 542 U.S. 507, 532 (2004) (plurality op.); see also

Boumediene v. Bush, 128 S. Ct. 2229, 2276 (2008) (“[w]e make no attempt to

anticipate all of the evidentiary . . . issues that will arise during the course of the

detainees' habeas corpus proceedings”). For that reason, the protective order protects

information that would harm “the security of the United States and other significant

interests.” App. 8.

      Here, the President and Ambassador Fried have identified the important foreign

policy and national security interests at stake. The President has concluded that the

closure of Guantanamo and the “prompt and appropriate disposition” of the detainees

“would further the national security and foreign policy interests of the United States.”

Exec. Order 13,498, § 2(b). Ameziane does not dispute the importance of that

interest. Appellee’s Br. at 34 (“Ameziane does not dispute that the government has

a significant interest in closing Guantanamo Bay and promptly repatriating or

resettling the detainees”).    Ambassador Fried, in turn, explained that “public

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disclosure of the decisions resulting from reviews by the Guantanamo Review Task

Force will impair the U.S. Government’s ability effectively to repatriate and resettle

Guantanamo detainees.” App. 44. These interests are undeniably of sufficient

importance to warrant immediate review by this Court.1

      Contrary to Ameziane’s claim, the issue of sealing the Task Force decision is

“completely separate from the merits of this case.” Appellee’s Br. at 27. Ameziane

argues that the Task Force decision is, itself, related to the case because once a Task

Force transfer decision is made, the government “seek[s] a stay of [the] habeas

petition pending the government’s efforts to repatriate or resettle him.” Id. at 28.

Whether or not the decision of the Task Force is related to the case is of no moment,

however, because the issue on appeal is the propriety of sealing judicial records that

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  The other significant interest served by appeal – this Court’s supervisory role over
the district courts, which have issued conflicting rulings on the issue – persists. Since
the filing of the government’s brief, three additional district court judges have
addressed the issue, and all have concluded that the Task Force information should
be sealed. See Hussein v. Obama, No. 06-1766 (D.D.C. Aug. 27, 2009) (Kennedy,
J.) (under seal); Tumani v. Obama, No. 05-0526 (D.D.C. Aug. 6, 2009) (Urbina, J.)
(under seal); Amerfedi v. Obama, No. 05-1645 (D.D.C. Aug. 5, 2009) (Friedman, J.)
(under seal) (all attached as Addendum to Reply Brief). Thus, currently six Judges
(Chief Judge Lamberth and Judges Kessler, Friedman, Urbina, Kennedy, and Leon)
have held that the Task Force decisions should be sealed, and two (Judges Huvelle
and Walton) have held that they should be publicly released. Judges Walton and
Bates have stayed further decision on the issue pending this Court’s resolution of this
appeal. See Add. 20.

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reveal the Task Force decision, not the propriety of the Task Force decision itself.

In any event, the Task Force decision is not related because, as Ameziane notes,

“habeas review tests the legality of detention while the Task Force review considers

other factors.” Appellee’s Br. at 28.

      Ameziane also reasons that the public disclosure of the Task Force decision is

“related to the merits of his habeas case” because disclosure might facilitate his

private diplomatic efforts to secure release and moot the habeas case. Appellee’s Br.

at 31. Even if this were true, it does not make the issues related – the legal issue of

whether the decision is properly sealed under the protective order simply has no

relation to the issue of whether Ameziane is lawfully detained. Cf. In re Sealed Case

(Medical Records), 381 F.3d 1205, 1209 (D.C. Cir. 2004) (“‘the privilege question’

here ‘is separable from the merits of the underlying case’”).

      Finally, Ameziane argues that “the government will have adequate opportunity

to present this issue for review once the case becomes final.” Appellee’s Br. at 31-32.

However, an order to publicly release information is the quintessential type of order

that is effectively unreviewable after final judgment. See Copley Press, 518 F.3d at

1025; In re Papandreou, 139 F.3d 247, 251 (D.C. Cir. 1998); Providence Journal Co.

v. FBI, 595 F.2d 889, 890 (1st Cir. 1979). In making this point, Ameziane simply

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reprises his mootness argument, which has no merit for the reasons explained above.

       B. Even if this Court did not have jurisdiction under the collateral order

doctrine, it should exercise mandamus jurisdiction pursuant to its supervisory

authority given the conflicting decisions on this issue in the district court. United

States v. Hubbard, 650 F.2d 293, 309 n. 62 (1980). Ameziane does not address this

important role that should be played by this Court.

       Mandamus relief is also needed to preserve the important foreign policy and

national security interests at stake and which would be damaged absent immediate

review. Cf. In re Papandreou, 139 F.3d 247 (D.C. Cir. 1998). Ameziane cites Doe,

claiming that the “mere invocation of foreign policy concerns does not provide a basis

for mandamus review” (Appellee’s Br. at 32); in fact, Doe was careful to recognize

that its ruling did not contravene foreign policy concerns as expressed by the State

Department. See Doe, 473 F.3d at 354 (“State Department” expressed concern about

“extent . . . of discovery” and did not “request[] that the district court dismiss a case

as a non-justiciable political question”; “if . . . the State Department has additional

concerns . . . it is free to file further” information with the district court). Here, on the

other hand, the State Department has identified the specific and significant foreign

policy and national security interests that would be harmed by the district court order,

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making mandamus review appropriate if this Court concludes there is no collateral

order jurisdiction.

III.   The District Court Order Declining to Seal The Task Force Information
       Should Be Reversed.

A.     Ameziane Is Not Defending The Bulk of the Relief Granted by the District
       Court Order, And That Decision Calls For Reversal.

       In arguing that this case is moot, Ameziane states that he “does not seek to

disclose the District Court pleadings or transcripts regarding this issue, or the parties’

appellate briefs, or any information regarding the government’s attempts to repatriate

him to Algeria.” Appellee’s Br. at 17. Instead, he claims, “all that is at issue in this

appeal, is whether Ameziane ‘may publicly disclose that he has been approved for

transfer.’” Id. (quoting App. 87). Ameziane thereby makes clear that he is not

defending the bulk of the relief granted by the district court order – namely,

Ameziane is no longer challenging the sealing of any pleading or court record

revealing the government’s official acknowledgment that Ameziane has been

approved for transfer.

       Based on this concession, the district court order should be reversed. The

district court order not only provided that “petitioner and his counsel may publicly

disclose that he has been approved for transfer,” the portion of the order that

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Ameziane defends on appeal, it also “GRANTED” “petitioner’s motion to unseal”

that information where it was included in court records and unsealed “all related or

derivative documents” that included that information, including any filings and

statements by the government or the Court that confirmed Ameziane’s status. App.

86. When the parties are in agreement that information should be protected – as is

the case here with respect to the pleadings and transcripts that address the issue of

Ameziane’s Task Force status – the protective order generally allows that information

to be protected. See App. 14 (if the “government . . . wish[es] to have the Court deem

any document . . . ‘protected,’ government counsel shall disclose the information to

qualified counsel for petitioners . . . and attempt to reach an agreement about the

designation of the information”). And this Court has previously held, under a similar

protective order, that it would seal information when the petitioner “does not object

to the court’s designation” and “advance[s] no countervailing factors that suggest the

court should not protect the information.” Parhat v. Gates, No. 06-1397, Mem. at 1

(D.C. Cir. Sept. 2, 2008) (attached as Addendum to Reply). Accordingly, because

Ameziane does not support that portion of the district court’s order unsealing court

records, that portion of the order should be reversed without the need for further

analysis.

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        B.    The Government’s Request Met The Standard Set by this Court in
              Parhat and Bismullah.

        With respect to the entirety of the district court’s order – including the portion

Ameziane defends on appeal, which provides that Ameziane and counsel may

publicly disclose the Task Force decision – Ameziane’s arguments lack merit. He

first argues that that the government failed to meet the standard set by this Court in

Parhat and Bismullah. This claim is not correct. Instead, Ambassador Fried’s

declaration provides a detailed assessment of why a very narrow category of

information – the decision of the Task Force to transfer a detainee – must be sealed

to protect significant foreign policy and national security interests.

        In Parhat, this Court explained that to establish that information should be

protected, the government must “‘give the court a basis for withholding’ that is

specific to the information that it has designated” and “offer [a] basis on which [the

Court] may determine whether the information it has designated properly falls within

the categories it has described.” 532 F.3d at 852-53 (quoting Bismullah, 501 F.3d at

188).

        Here, the government’s showing satisfied this test. First, Ameziane does not

dispute that there is a basis to determine that the information designated – the Task


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Force decision to transfer a detainee – “properly falls within the categories . . .

described.” Id. Indeed, Ameziane acknowledges that this dispute regards only the

“single unclassified fact that Ameziane has been approved for transfer.” Appellee’s

Br. at 37. Thus, a primary concern of this Court in Parhat is not an issue that is

present here.    In Parhat, there was no “explanation tailored to the specific

information at issue” thus requiring the Court, were it to grant the government’s

motion, to “accept the government’s own designation[s].” Parhat, 532 F.3d at 853;

see id. at 852 (government “ had not yet submitted the designations of the information

it regarded as falling into the protected categories”). Moreover, unlike the claim in

Parhat which concerned the names of all government officials and any information

designated as “Law Enforcement Sensitive,” Ambassador Fried’s declaration

addresses the “specific information that it designated” here, id. at 853, namely, the

decision of the Task Force to transfer a detainee.

      Ameziane argues that Ambassador Fried’s declaration is not sufficiently

specific because it addresses Task Force transfer decisions in general, not the specific

decision in Ameziane’s case. This application of Parhat is faulty for two reasons.

First, Ameziane’s reasoning does not change the fact that the government’s sealing

request is quite narrowly tailored – it covers only a “single . . . fact” (Appelle’s Br.

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at 37) in this case. Even beyond this case, the request covers only a subset of the

habeas cases, those where the Task Force has determined that a detainee should be

transferred, not “all of the more than one hundred . . . cases.” Parhat, 532 F.3d at

853. Thus, the request for sealing here is the type of narrow request that is more akin

to the one this Court ultimately accepted as reasonable in the Parhat litigation itself,

where the Court upheld the protection of, among other things, the “names and

identifying information of United States government personnel . . . who are involved

in law enforcement activities relating to the detention of enemy combatants.” Parhat,

Mem. at 1.

      Second, this is not a case where the government has sought to protect

information in “categories” determined to be “imprecise” (in the case of all

information designated “Law Enforcement Sensitive”) or overinclusive (in the case

of the names of all government personnel, including some “who are so publicly

associated with Guantanamo that protected status would plainly be unwarranted”).

Parhat, 532 F.3d at 833. Here, on the other hand, the government’s request is to

protect a “single . . . fact” (Appellee’s Br. at 37) in a subset of the habeas cases.

Ambassador Fried’s declaration addressed why this particular fact, if publicly

released, would harm the government’s coordinated repatriation and resettlement

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effort. He identified the special challenges posed by detainees who, for one reason

or another, cannot “responsibly [be] returned to their home countries.” App. 45. The

sensitive negotiations that could lead to resettlement of those detainees could be

derailed if “large numbers of individuals (acting through, inter alia counsel or non-

government organizations) approach the same group of governments at the same time

seeking resettlement.” App. 46. If those groups have in hand the “formal U.S.

government decisions resulting from review by the Guantanamo Review Task Force,

it could confuse, undermine, or jeopardize our diplomatic efforts with those countries

and could put at risk our ability to move as many people to safe and responsible

locations as might otherwise be the case.” App. 46.

      Ameziane argues that this explanation is not sufficiently specific because the

declaration “fails to mention Ameziane or his efforts to obtain resettlement in

Canada.” Appellee’s Br. at 37. In fact, as we explained in our opening brief (pp. 28-

30), the concerns addressed by Ambassador Fried apply squarely to this case.

Ameziane is a citizen of Algeria, and the United States believes he can be repatriated

to Algeria. Ameziane’s counsel, however, is engaging in private resettlement efforts

in both Canada and France. App. 64. This is precisely the concern addressed by

Ambassador Fried: “many of the detainees” are seeking resettlement in “certain

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European countries” and the “capacity [of Europe] to absorb detainees is limited.”

App. 46. Thus, “it is important to the U.S. goal of closing Guantanamo” (id.) – a goal

Ameziane recognizes as “significant” (Appellee’s Br. at 34) – “to be able to focus

diplomatic discussions with those countries on detainees for whom there is a

compelling reason not to return them to their home countries.” App. 46. Ameziane

entirely ignores the reality that he is seeking resettlement in France, a part of Europe,

which was specifically identified by Ambassador Fried. App. 46. He is therefore

wrong to claim that the declaration “does not provide any specific information

tailored to . . . the countries where he has sought resettlement.” Appellee’s Br. at 40-

42. In sum, the concerns described in Ambassador Fried’s declaration apply squarely

in this case.

       Moreover, contrary to Ameziane’s suggestion (Appellee’s Br. at 37), there is

no requirement that Ameziane be addressed by name in the declaration to qualify for

protected status when the facts described in the declaration apply squarely to

Ameziane’s case. This Court in Parhat ultimately authorized the protection of the

names of certain government officials on a categorical basis. Parhat, Mem. at 1.

This is because the government’s rationale was categorical as applied to two groups

of people: people “involved in law enforcement activities relating to the detention”

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and people who “participated in Parhat’s CSRT proceedings” but had not “been

publicly disclosed.” Id. The rationale here – that the Task Force decision should be

protected because Ameziane’s private efforts to obtain resettlement implicate the

precise foreign policy concerns raised by Ambassador Fried – is no more categorical

than that approved by this Court in Parhat. Accordingly, the type of harm identified

by Ambassador Fried, namely the “confusion and mixed messages” created when

detainees approach resettlement countries with official U.S. government information

(App. 47), is of its nature categorical and the district court erred in concluding that

the “government has failed to explain with sufficient specificity why Ameziane’s

cleared status must be protected.” App. 86.2

      Ameziane also argues that the Fried Declaration fails to “provide any specific

information” regarding “diplomatic efforts regarding his home country of Algeria.”

Appellee’s Br. at 40. But there is no serious dispute in this case that Ameziane’s

resistance to being returned to Algeria is both the reason he remains at Guantanamo

2
  Ameziane argues that some cases might “involv[e] detainees who do not . . . have
resettlement concerns.” Appellee’s Br. at 37. That fact is of no consequence in this
appeal, where Ameziane admits he has serious concerns with repatriation and is
therefore seeking resettlement. Moreover, the argument ignores other aspects of
Ambassador Fried’s declaration that address detainees approved for transfer and
where release of the Task Force information would raise other sorts of foreign policy
concerns. See App. 47-48.

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and the source of the concern identified in Ambassador Fried’s declaration – i.e., that

the United States seeks his repatriation, but Ameziane would prefer to be resettled to

a third country. App. 46. Were there any doubt (and there was not), Ambassador

Fried has since made it plain that Ameziane and the other Algerian “detainees . . . can

be repatriated to their country of nationality consistent with our policies on post-

transfer treatment.” App. 146. Accordingly, Ameziane’s desire not to be repatriated

places him squarely in the middle of the diplomatic concerns identified by

Ambassador Fried.3

      In sum, as Chief Judge Lamberth concluded, the diplomatic needs identified

by Ambassador Fried, which are necessary to further the national security and foreign

policy interests identified by the President in closing Guantanamo, are “sufficiently

specific and . . . constitute[] a ‘significant interest’ under the Protective Order.” Add.

16 (footnote omitted); see Add. to Reply at 4-5 (finding Judge Lamberth’s reasoning


3
   In a footnote, Ameziane argues that the Task Force decisions should not be
protected because the Defense Department publicly disclosed decisions to release
detainees made by Administrative Review Boards. Appellee’s Br. at 44. Ambassador
Fried specifically addressed this distinction, explaining that “in my judgment the
current circumstances and diplomatic climate render it necessary to maintain control
over dissemination . . to enhance the . . . efforts to repatriate and transfer detainees
as soon as practicable” in light of “the pace at which the Executive Order review must
proceed in order to meet the [one year] deadline set by the President.” App. 45-46.

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persuasive), 10 (same), 14 (same).

C.    Ambassador Fried’s Assessment That Release Would Harm Significant
      Interests Is Entitled To Substantial Deference.

      Ambassador Fried’s assessment of the diplomatic difficulties that would be

created by public release of the Task Force decision is entitled to substantial

deference. Ameziane’s overstated portrayal of the government’s argument – that

“complete deference to the Executive” is required (Appellee’s Br. at 48; id. at 52

(government not entitled to “total . . . deference”) – as well as his suggestion that the

district court need not defer to Ambassador Fried’s assessment – are both in error.

      In fact, the government is correct in urging that substantial deference should

have been accorded to Ambassador Fried’s assessment of the harm caused by the

public release of the Task Force decisions on his diplomatic efforts to resettle and

repatriate Guantanamo detainees within the time frame set out by the President’s

Executive Order. App. 44-45. Ambassador Fried is the person charged by the

President with negotiating the resettlement and repatriation of Guantanamo detainees,

and he is the person conducting those sensitive negotiations. App. 45. He is

therefore undeniably the person with the most knowledge and experience with the

functioning of that effort and the diplomatic challenges presented by it. See National


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Cable & Telecommunications Ass'n v. F.C.C., 567 F.3d 659, 669 (D.C. Cir. 2009)

(“we must give appropriate deference to predictive judgments that necessarily involve

the expertise and experience of the agency”).

      At the same time, his resettlement and repatriation negotiations constitute a

core foreign relations function, and the nation’s “foreign policy [is] the province and

responsibility of the Executive.” Haig v. Agee, 453 U.S. 280, 293-94 (1981).

Accordingly, deference is warranted both because of Ambassador Fried’s expertise

and the impact of the disclosure on the nation’s diplomatic negotiations, where the

“U.S. government [must] retain the prerogative to ‘speak with one voice.’” App. 47;

see United States v. Curtiss-Wright Export Corp., 299 U.S. 304, 319 (1936) (in “this

vast external realm, with its important, complicated, delicate and manifold problems,

the President alone has the power to speak or listen as a representative of the nation”).

      This does not mean, as Ameziane suggests, that the court must “accept the

government’s proffered harms at face value.” Appellee’s Br. at 48. Indeed, all of

Ameziane’s arguments on this point are oriented to show that the court has some role

to play in assessing the harm here, id. at 48-52, a role that the government does not

dispute. See Bismullah, 501 F.3d at 188. Instead, the court should have assessed the

harm identified by Ambassador Fried, provided that assessment substantial deference

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for the reasons just explained, and determined whether the harm constitutes a

“significant interest[]” under the Protective Order. We submit that the district court

failed to afford sufficient deference to that assessment, and thereby abused its

discretion.

         Ironically, while Ameziane attacks the standard of review and the level of

deference that is appropriate, he nowhere explains how the central interest identified

by Ambassador Fried is either illegitimate or insignificant. Ameziane does not

dispute Ambassador Fried’s basic premise: that the United States has a limited ability

to resettle detainees and, therefore, those efforts must focus on those detainees who

cannot be repatriated. Thus, this is not even a case where deference to Ambassador

Fried’s assessments of harm need be considered because Ameziane does not dispute

them.4

         Ameziane does, on the other hand, claim that revealing the Task Force

information will not itself cause additional harm to foreign relations beyond


4
    Ameziane does emphatically dispute whether he can safely be repatriated
(Appellee’s Br. at 9-10), a dispute that is being addressed by the district court and is
of no moment here. In any event, as we explained in our opening brief, the types of
concerns raised by Ameziane are those on which the government’s contrary
assessment (App. 145-59) cannot be challenged under binding precedent of this
Court. Appellant’s Br. at 42 (citing Kiyemba, 561 F.3d at 514).

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counsel’s current diplomatic endeavors because “the government has no power to

prevent Ameziane’s counsel from continuing to communicate with foreign

governments . . . to find a country for resettlement.” Appellee’s Br. at 42. But by

identifying harm that is not within the government’s control – his private resettlement

negotiations that are in conflict with the government’s effort to repatriate him –

Ameziane has, if anything, confirmed the legitimacy of the harm identified by

Ambassador Fried. And here, Ambassador Fried specifically noted that when counsel

“approach[es] the same small group of governments . . . particularly if they relay

information about formal U.S. government decisions resulting from review by the

Guantanamo Review Task Force, it could confuse, undermine, or jeopardize our

diplomatic efforts with those countries.” App. 46.

D.    No Public or Private Interest Would Be Served By Publicly Releasing the
      Task Force Decision.

      As we explained in our opening brief (pp. 36-40), there is no countervailing

public or private interest at stake here that would outweigh the significant foreign

policy and national security interests identified by Ambassador Fried.5 Ameziane

5
  Petitioner claims this argument is waived because it has been “raised for the first
time on appeal.” Appellee’s Br. at 54. If anything, however, the presence of public
or private interest in public disclosure – interests that are not cited in the text of the
protective order – would tend to militate in favor of disclosure in cases, unlike this

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argues in favor of a general public interest in the transparency of habeas proceedings

(Appellee’s Br. at 55), an interest that the government does not dispute. Appellant’s

Br. at 37.

      But there is no similar public interest in revealing the Task Force decision as

part of this litigation. As we explained in the opening brief, the decision is entirely

collateral to the merits of the dispute and therefore does not “play[] a significant

positive role in the functioning of the particular process in question.”             Press-

Enterprise Co. v. Superior Court, 478 U.S. 1, 8 (1986). Ameziane argues that there

is a public interest in “the operations of the Task Force created by Executive Order

13,492.” Appellee’s Br. at 55. The operation of the Task Force, however, is not at

issue in this habeas litigation – instead, the legality of detention is the issue.

      Ameziane claims that there is at the very least a private interest in disclosure

given that the Task Force decision has “operated to deprive him of his


one, where there are such interests. Thus, we do not understand why waiver analysis
would be applicable. Cf. Yee v. Escondido, 503 U.S. 519, 534 (1992) (once a “claim
is properly presented, a party can make any argument in support of that claim; parties
are not limited to the precise arguments they made below”). Moreover, the district
court ruled in part based on its assessment of the public interest, App. 123, making
it fully appropriate to address the issue. In any event, because this case concerns the
public’s right to access the material at issue (Ameziane, after all, already has access
to the information), it makes sense to reference that case law as providing relevant
guideposts to the analysis.

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constitutionally-protected right to petition for habeas relief.” Appellee’s Br. at 56.

It is ironic that Ameziane makes this assertion, given that the primary barrier to his

release is the injunction barring his repatriation. Moreover, as we explained in our

opening brief (pp. 39-40), the public interest is served by providing transfer

information to the habeas court – without necessitating the damage that would be

caused by public disclosure – so that the court may consider whether to focus the

court’s limited resources on those habeas cases that must be resolved through

litigation.

       Ameziane also argues that the “concealment of his clearance wrongly implies

that he is too dangerous to release.” Appellee’s Br. at 57. But, as the government

explained in its opening brief (p. 41), if this issue is a concern for those countries with

which Ameziane is negotiating resettlement, nothing prevents those nations from

seeking the Task Force information directly from the United States government.

Such a State-to-State communication eliminates the “confusion and mixed messages”

that Ambassador Fried identified as the harm of releasing the Task Force decision and

helps serve the important foreign policy interest that the United States “speak with

one voice” in its negotiations with foreign powers. App. 47; Curtiss-Wright, 299

U.S. at 319. Moreover, once Ameziane’s transfer is effectuated and sensitive foreign

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policy negotiations have been concluded, nothing prevents the district court from

reevaluating the decision to seal the information.

      Finally, Ameziane argues that the information should not be sealed because it

puts him in an unequal position as compared to a detainee who has prevailed in his

case – where a judicial decision granting the writ would not be sealed. See

Appellee’s Br. at 43, 56. But just as Ameziane’s private diplomacy efforts make

Ambassador Fried’s task more challenging (App. 46), a public court decision granting

the writ also has the potential to complicate the diplomatic effort. Both actions,

however, are appropriately beyond the Executive Branch’s control in these

circumstances. That fact, however, should not preclude the government from

advising a habeas petitioner and the habeas court of the decision to transfer without

also requiring that information to be publicly revealed. Such a notification can, as we

have explained, allow the court to consider whether to conserve limited resources

needed to provide “detainees . . . a prompt habeas corpus hearing.” Boumediene, 128

S. Ct. at 2275. Protected notification can also serve to benefit a habeas petitioner.

Some petitioners have agreed to stay their cases once a Task Force decision is

confidentially disclosed to the court. The confidential disclosure enables the

detainees and the government to move beyond the dispute over legality of detention

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and align their interests in effectuating repatriation or resettlement. See App. 47

(“petitioner’s counsel” has a “role to play in the transfer process” and in many cases

the “U.S. government [and] . . . petitioners’ counsel . . . seek to work collaboratively”

in that process).6 Thus, there is a public interest in allowing the Executive Branch

to notify the court and the habeas petitioner of the transfer decision without requiring

that it be publicly disclosed. Moreover, there is a public interest in affording

Ambassador Fried maximum ability to pursue a global approach to repatriating and

resettling all the detainees at Guantanamo Bay who have been approved for transfer,

over promoting solely the interests of Ameziane at the expense of others.7




6
  Some petitioners may welcome sealed notification because it will enable them to
avoid litigation of the merits, where there is a risk the writ could be denied or a court
opinion could complicate transfer.
7
  Contrary to Ameziane’s claim, the government has not “manipulated” his clearance
status as a “litigation tactic.” Appellee’s Br. at 58. In fact, the Department of
Defense Administrative Review Board process had not approved petitioner for
transfer. Instead, petitioner had been identified as a possible candidate for transfer
and notice of that intent to transfer was disclosed to the court under seal. The notice
was provided to comply with the district court’s order requiring 30 days notice prior
to transfer, and the transfer could not be effectuated due to the district court’s
injunction.

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                                  CONCLUSION

      For the foregoing reasons, and the reasons explained in the opening brief, the

district court’s order should be reversed.

                                 Respectfully submitted,



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September 8, 2009




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        CERTIFICATE OF COMPLIANCE WITH RULE 32(a)(7)(C)
        OF THE FEDERAL RULES OF APPELLATE PROCEDURE

      I hereby certify, pursuant to Fed. R. App. P. 32(a)(7)(C) and D.C. Circuit Rule

32(a), that the foregoing brief is proportionally spaced, has a typeface of 14 point and

contains 6966 words (which does not exceed the applicable 7,000 word limit).




                                               ______________________
                                               August E. Flentje




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this September 8, 2009, I caused copies of the foregoing

reply brief to be served upon counsel of record by causing copies to be sent by first-

class mail and by e-mail transmission to lead counsel for each case:




                                       ______________________
                                       August E. Flentje




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               ADDENDUM




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